        Case 2:16-cr-00207-RMP         ECF No. 149      filed 12/07/17    PageID.1040 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON

  UNITED STATES OF AMERICA,                               Case No. 2:16-CR-207-RMP-3

                     Plaintiff,                           CRIMINAL MINUTES
                                                          SENTENCING HEARING
                     vs.
                                                          DATE: December 7, 2017
  RUSSELL MELVIN HUNT,
                                                           LOCATION: SPOKANE, WA
                     Defendant.


                                            JUDGE ROSANNA
                                           MALOUF PETERSON

  Michelle Fox                     N/A                                          Allison Stovall
  Courtroom Deputy                Law Clerk                 Interpreter         Court Reporter

  Earl Hicks                                            Matthew Campbell
  George Jacobs                                         Defendant’s Counsel
  Plaintiff's Counsel
[X] Open Court                                               [ X ] Probation Officer: D. Storms

Defendant present with counsel and out of custody of the US Marshal.

Court identifies documents filed in connection with this sentencing and confirms the defendant has also had a
chance to review the same.

M. Campbell presents argument and outlines recommendations.

E. Hicks presents argument and outlines recommendations.

Defendant chooses not to say anything additional to the Court.

COURT outlines 3553 factors. Accept Plea Agreement.

Probation: 5 years’ probation to run concurrent to each count.
      Standard conditions and the following special conditions:


1) You must submit your person, residence, office, or vehicle and belongings to a search, conducted by a
probation officer, at a sensible time and manner, based upon reasonable suspicion of contraband or evidence of
violation of a condition of supervision. Failure to submit to search may be grounds for revocation. You must
warn persons with whom you share a residence that the premises may be subject to search.
        Case 2:16-cr-00207-RMP          ECF No. 149      filed 12/07/17    PageID.1041 Page 2 of 2

USA v. R. Hunt                                                                              Page 2
2:16-CR-207-RMP-3



2) You shall pay in full any fine imposed no later than six months prior to the termination of probation.

3) You shall not sell or purchase any firearms during the period of probation.

4) You may not possess any firearms during the term of supervision with the exception, that for personal safety,
you may possess one handgun and one long rifle. You will identify the firearms you will possess during
probation in writing by model type and serial number. You will provide the information to the United States
Attorney’s Office.

5) You shall turn over all firearms you may presently be in possession of to a third party custodian who does not
reside in the same residence or is a codefendant in this case. The third party custodian must be lawfully able to
possess firearms.

6) You shall be allowed to travel outside of the Eastern District of Washington and traveling anywhere in
Mexico and Canada without advanced approval, just with notification to the supervising probation officer.


Fine: $4,000 to be paid within 12 months.

SPA: $25 per count = $75

Right to appeal administered.

E. Hicks moves to dismiss Indictment.

COURT Dismisses original Indictment with prejudice.



  CONVENED: 11:10 AM             ADJOURNED: 11:25 AM           TIME: 15 MIN.
